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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  UNITED STATES OF AMERICA,                                IN LIM/NE MEMORANDUM
                                                           ON JURY INSTRUCTIONS
                 - against-                                (MENS REA ISSUE)

  CHIN CHONG,                                              13-CR-570
                            Defendant.


  Appearances:

  United States of America:              Nadia Moore
                                         U.S. Attorney's Office
                                         271 Cadman Plaza East
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                                         (718) 254-6362
                                                                                  J
  Chin Chong:                            Chase Scolnick
                                         Federal Defenders of New York, Inc.,
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  JACK B. WEINSTEIN, Senior United States District Judge:

         This memorandum is issued to explain an in limine decision made in preparing

  the charge to the jury.

         Defendant Chin Chong is accused of being an active member in a scheme to bring

  a controlled substance called methylone into the country. Methylone is the common name

  for 3,4-methylenedioxy-N-methylcathinone, a chemical that was temporarily placed into

  Schedule I in October 2011 and permanently placed into Schedule I in April 2013. See

  Schedules of Controlled Substances: Temporary Placement of Three Synthetic

  Cathinones Into Schedule I, 76 Fed. Reg. 65,371 (Oct. 21, 2011); Controlled Substances:

  Placement of Methylone Into Schedule I, 78 Fed. Reg. 21,818 (Apr. 12, 2013).


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          A four-count indictment was returned, Dec. 16, 2013, ECF No. 52, charging that

  between July 1, 2013 and September 10, 2013, the defendant was guilty of: (1)

  conspiracy to import methylone, in violation of 21 U.S.C. §§ 952(a) and 960(a)(l); (2)

  importation of methylone, in violation of 21 U.S.C. §§ 952(a), 960(a)(l), and 960(b)(3);

  (3) conspiracy to distribute and possess with intent to distribute methylone, in violation of

  21 U.S.C. §§ 846 and 841(b)(l)(C); and (4) attempted possession of methylone with

  intent to distribute, in violation of 21 U.S.C. §§ 846 and 841(b)(l)(C).

          "Molly" is a term used by users, suppliers, and law enforcement for methylone.

  Hr'g Tr. 5-6, Dec. 30, 2013; Trial Tr. 129, Jan. 6, 2014. It is associated with a variety of

  chemical substances; some are controlled and some are not. Hr'g Tr. 6, Dec. 30, 2013;

  Trial Tr. 223, 250-51, Dec. 7, 2013. In addition to serving as the common name for 3,4-

  methylenedioxy-N-methylcathinone (the Schedule I controlled substance), "methylone"

  is a brand name for methylprednisolone (an unrelated corticosteroid). Hr'g Tr. 28, Jan. 2,

  2014; Trial Tr. 290, Jan. 7, 2013; accord SWISS PHARMACEUTICAL SOCIETY, INDEX

  NOMINUM: lNT'L DRUG DIRECTORY 1593 (18th ed., 2004).

         The defendant's knowledge concerning "Molly," methylone, and related

  controlled substances is a central trial issue. Additional background information for the

  case is contained in a separate memorandum issued today. See In Limine Memorandum

  on Jury Instructions (Trace Amount Instruction), Jan. 8, 2013.

         Section 841(a) makes it "unlawful for any person knowingly or intentionally ...

  to manufacture, distribute, or dispense, or possess with intent to manufacture, distribute,

  or dispense, a controlled substance[.]" Section 960 provides that "[a]ny person who ...




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  knowingly or intentionally imports or exports a controlled substance" has committed a

  felony offense.

          To sustain any of the four charges, the government must prove that the defendant

  knew the substance he allegedly imported and sought to possess with intent to distribute

  was a controlled substance. See Hr'g Tr. 11-12, Dec. 30, 2013; Trial Tr. 179-85, Jan. 6,

  2014; accord PATTERN CRIMINAL FEDERAL JURY INSTRUCTIONS OF THE SEVENTH CIRCUIT

  641 (2012 ed.) ("In order for you to find [a; the] defendant guilty of [21 U.S.C. §

  841(a)(l)], the government must prove ... [t]he defendant knew the substance [was;

  contained] some kind of controlled substance.").

          For each of the four charges, the jury has received a variation of the following

  instruction:

                 The government must prove that the defendant knew the substance
         he allegedly [conspired to import I imported I conspired to distribute or
         possess I attempted to possess] was a controlled substance. 3,4-
         methylenedioxy-N-methylcathinone is a controlled substance. It became a
         controlled substance on a temporary basis on October 21, 2011 and on a
         permanent basis on April 12, 2013. A substance is on this list and illegal
         whether denominated "temporary" or "permanent."
                 The government need not prove that the defendant knew the exact
         nature of the controlled substance involved in the alleged offense.
         Although the government must prove that the defendant knew the
         substance he allegedly [conspired to import I imported I conspired to
         distribute or possess I attempted to possess] was a controlled substance,
         the government does not have to prove that the defendant knew that the
         controlled substance was 3 ,4-methylenedioxy-N-methylcathinone.
                 The government must prove that the defendant knew the substance
         that he [conspired to import I imported I conspired to distribute or possess
         I attempted to possess] was classified as an illegal, "controlled" substance.
         On this knowledge issue, you may consider all of the evidence, including
         the date on which 3,4-methylenedioxy-N-methylcathinone became a
         controlled substance, the total number of chemicals known as "Molly,"
         any actions by the defendant suggesting that he knew he was dealing with
         an illegal controlled substance, and an admission by him, if any, on that
         point.



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          This instruction is consistent with the general principal that "[c]ourts ordinarily

  read a phrase in a criminal statute that introduces the elements of a crime with the word

  'knowingly' as applying that word to each element." Flores-Figueroa v. United States,

  556 U.S. 646, 652 (2009). Here, the word "knowingly" in sections 84l(a) and 960(a)(l)

  modifies not only the respective verbs ("distribute," "possess," and "import[]"), but all

  elements of the offenses, including "controlled substance."

         To avoid drug prosecutions and encourage consumer use, manufacturers and

  suppliers of synthetic drugs often begin marketing new versions of substances known as

  "Molly" once earlier iterations are added to the list of controlled substances. Trial Tr.

  245-46, 261, Jan. 7, 2013. It is not uncommon for different batches of the same brand of

  "Molly" to contain different drugs, Trial Tr. 256, Jan. 7, 2013, and substances received

  from synthetic drug laboratories in China may not be consistent with the specific

  chemicals ordered, Trial Tr. 248, Jan. 7, 2013.

         The mens rea requirement reflected in the instruction should be construed as

  importing the mistake-of-law defense into the statutes for the limited purpose of dealing

  with criminal activities in connection with exotic designer drugs. This is not contrary to

  the general view that "ignorance of the law is no excuse." See OLIVER WENDELL

  HOLMES, THE COMMON LA w 41 (M. Howe ed. 1963) (1881 ). This legal generality is

  modified in limited settings as a matter of statutory construction where it is necessary to

  afford prospective defendants a measure of fair notice consistent with the principles of

  due process. See Flores-Figueroa, 556 U.S. at 652 (discussing Liparota v. United States,

  471 U.S. 419 (1985)); see also Cheek v. United States, 498 U.S. 192, 200 (1991)

  ("Congress has ... softened the impact of the common-law presumption [that every



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  person knows the law] by making specific intent to violate the law an element of certain

  federal criminal tax offenses"). The doctrine of qualified immunity and the proliferating

  exceptions to the Fourth Amendment's exclusionary rule are but two examples of areas

  of law in which actors' reasonable mistakes are countenanced. See, e.g., Anderson v.

  Creighton, 483 U.S. 635 (1987) (holding officer who participates in search that violates

  the Fourth Amendment not liable for money damages if a reasonable officer could have

  believed that the search comported with the Fourth Amendment); United States v. Leon,

  468 U.S. 897 (1984) (holding exclusionary rule does not bar use of unconstitutionally

  obtained evidence where officers reasonably relied on search warrant issued by detached

  and neutral magistrate).

          In the vast majority of drug-related prosecutions, it will be simple for the

  government to prove that the accused knew he or she was trafficking in some form of a

  controlled substance. Given the widespread publicity surrounding the large number of

  arrests and convictions relating to marijuana, cocaine, heroin, and methamphetamine

  importation and distribution over the past several decades, it is common knowledge that

  such substances are "controlled." See generally U.S. DEP'T OF JUSTICE, BUREAU OF

  JUSTICE STATISTICS, CRIME IN THE U.S.              (1995-2012), at http://www.fbi.gov/about-

  us/cjis/ucr/crime-in-the-u.s. (providing national arrest statistics).

         In rare circumstances like those presented by this designer drug case, "[t]he

  proliferation of statutes and regulations [can] sometimes ma[ke] it difficult for the

  average citizen to know and comprehend the extent of the duties and obligations imposed

  by the ... laws." Cheek, 498 U.S. at 199-200.




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         As in other drug cases, direct and circumstantial evidence, including evidence of

  the defendant's furtive conduct, can suffice to demonstrate that the defendant knew that

  the substance at issue was "controlled." Given the harsh penalties that attach for the

  instant crimes-Chong faces up to eighty years in prison if convicted on all counts-the

  jury here must be persuaded of the defendant's knowledge that the substance he is

  charged with trafficking was on the proscribed list. See Jack B. Weinstein & Fred A.

  Bernstein, The Denigration of Mens Rea in Drug Sentencing 7 FED. SENT'G REP. 121,

  122 (1994) ("Culpability doctrines do more than separate the innocent from the guilty.

  They mediate between the individual and society, ensuring that a complex web of legal

  commands and protections operates effectively and in a properly nuanced fashion.")




                                                              ack B. Weinstein
                                                             Senior United States District Judge


  Dated: January 8, 2014
         Brooklyn, New York




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